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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

in re: Chapter 11
TRIBUNE COMPANY, et al.,' Case No. 08-13141 (KJC)
Debtors. Joint Administration Requested

CERTIFICATE OF CONSOLIDATED LIST OF CREDITORS

In accordance with Rule 1007(a) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) and Rule 1007-1(a) of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules’), a consolidated list of creditors (the “List of Creditors”) of each of the above-captioned

debtors and debtors in possession (each a “Debtor” and collectively, the Debtors”) is filed by

attachment hereto.

' The Debtors in these chapter [1 cases, along with the last four digits of each Debtor's federal tax identification number, are: Tabune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (4626); Channet 20, Inc, (7399), Channei 39, Inc. (5256), Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634), Chicago River Production Company (5434), Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439), Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
lnvestments, LLC (6327); forsalebyowner.com corp, (0219); ForSaleByOwner.com Referral Services, LLC (92015); Fortify Holdings Corporation
(5628), Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7456); Heart & Crown Advertising, Inc.
{9808}; Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352): InsertCo, Inc.
(2663); Internet Foreclosure Service, inc. (6550); JuliusAir Company, LLC (9479); JulinsAir Company H, LLC; KLAH Inc. (4014); KPLR, Inc.
(7943); KSWBE Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324), Los Angeles Times
International, Lid. (6079); Los Angeles Times Newspapers, Inc, (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocamm, Inc. (7208); New Mass. Media, Inc. (9553); New River Center Maintenance Association, Inc. (5621); Newscom Services, Inc, (4817),
Newspaper Readers Agency, Inc. (7335); North Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak
Brook Productions, Inc. (2598); Orlando Sentine] Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest
Products Co. of Washington (4750); Sentinel Communications News Ventures, Inc. (2027); Shepard's Inc, (7931); Signs of Distinction, Inc,
(3603), Southern Connecticut Newspapers, Inc, (1455); Star Community Publishing Group, LLC ($612); Stemweb, Inc. (4276); Sun-Sentinel
Company (2684); The Baltimore Sun Company (6880); The Daily Press, Inc. (9368), The Hartford Courant Company (3490); The Moming Call,
inc. (7560), The Other Company LLC (5337); Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc.
(4227); Times Mirror Services Company, Inc, (1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325);
Tower Distribution Company (9066); Towering T Music Publishing Company (2470); Tribune Broadcast Holdings, Inc, (4438); Tribune
Broadcasting Company (2569); Tribune Broadcasting Holdco, LLC (2534); Tribune Broadcasting News Network, Inc. (1088); Tribune California
Properties, Inc. {1629}; Tribune Direct Marketing, Inc. (1479); Tribune Entertainment Company (6232); Tribune Entertainment Production
Company (5393); Tribune Finance, LLC (2537), Tribune Finance Service Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los
Angeles, inc, (4522); Tribune Manhattan Newspaper Holdings, Inc, (7279); Tribune Media Net, Inc. (7847); Tribune Media Services, Inc.
(1080); Tribune Network Holdings Company (9936); Tribune New York Newspaper Holdings, LLC (7278): Tribune NM, Inc. (9939), Tribune
Publishing Company (9720); Tribune Television Company (1634); Tribune Television Holdings, inc. (1630); Tribune Television New Orleans,
Inc, (4055), Tribune Television Northwest, Inc. (2975); ValuMail, Inc, (9512), Virginia Community Shoppers, LLC (4025); Virginia Gazette
Companies, LLC (9587); WATL, LLC (7384); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Coniinental Broadcasting
Company (9530); WLV1 Inc. (8074); WPIX, Inc. (0191); and WTXX Inc, (1268). The Debtors’ corporate headquarters and the mailing address
for each Debtor is 433 North Michigan Avenue, Chicago, Illinois 60611.

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The List of Creditors has been prepared on a consolidated basis from the books and
records of each of the Debtors as of December 8, 2008, The undersigned, a duly authorized
representative of each of the Debtors, hereby certifies that the List of Creditors contains the
names and addresses of all creditors of the Debtors that could be ascertained after diligent
inquiry, based on review of the Debtors’ books and records, and is consistent with the
information contained therein, The Debtors will update the List of Creditors as more
information becomes available. To the extent practicable, the List of Creditors complies with
Local Rule 1007-1 (a).

The Debtors have not completed a comprehensive legal and/or factual investigation with
regard to possible defenses to any claims of the potential claimants included in the List of
Creditors. In addition, certain of the entities included in the list of creditors may not hold
outstanding claims as of the date hereof, and therefore may not be creditors of the Debtors for
purposes of these chapter 11 cases. Therefore, this List of Creditors does not, and should not be
deemed to, constitute either (i) a waiver of any defenses to claims that may be asserted against
the Debtors, or (11) an acknowledgement of the validity of amount of any claims that may be

asserted against the Debtors.

Dated: December 8, 2008

Chandler Bigelow ILI
Senior Vice President &
Chief Financial Officer

TRIBUNE COMPANY

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